Case 5:13-cv-02199-VAP-DTB Document 8 Filed 01/14/14 Page 1 of 4 Page ID #:34



 1 Tammy Hussin, Esq. (Bar No. 155290)
 2 Lemberg & Associates, LLC
   6404 Merlin Drive
 3 Carlsbad, CA 92011
 4 Telephone (855) 301-2100 ext. 5514
   thussin@lemberglaw.com
 5
 6 Lemberg & Associates, LLC
   A Connecticut Law Firm
 7 1100 Summer Street
 8 Stamford, CT 06905
   Telephone: (203) 653-2250
 9 Facsimile: (203) 653-3424
10
   Attorneys for Plaintiff,
11 Veronica Becker
12
13                            UNITED STATES DISTRICT COURT
14                           CENTRAL DISTRICT OF CALIFORNIA
15                                 EASTERN DIVISION
16
     Veronica Becker,                        Case No.: 5:13-cv-02199-VAP-DTB
17
                      Plaintiff,             NOTICE OF SETTLEMENT
18
19         vs.
20
   Sacor Financial Inc.; and DOES 1-10,
21 inclusive,
22
                   Defendants.
23
24
25
26
27
28
     5:13-cv-02199-VAP-DTB                                     NOTICE OF SETTLEMENT
Case 5:13-cv-02199-VAP-DTB Document 8 Filed 01/14/14 Page 2 of 4 Page ID #:35



 1                             NOTICE OF SETTLEMENT
 2
            NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have
 3
 4 reached a settlement. The Plaintiff anticipates filing a notice of withdrawal of
 5 Complaint and voluntary dismissal of this action with prejudice pursuant to Fed. R.
 6
   Civ. P. 41(a) within 60 days.
 7
 8       The parties hereby further request that this honorable Court provide a period of
 9 60 days within which to complete the settlement and file a dismissal of the action.
10
11
12                                             By: /s/ Tammy Hussin
                                               Tammy Hussin, Esq.
13                                             Lemberg & Associates, LLC
14                                             Attorney for Plaintiff, Veronica Becker
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               2
     5:13-cv-02199-VAP-DTB                                            NOTICE OF SETTLEMENT
Case 5:13-cv-02199-VAP-DTB Document 8 Filed 01/14/14 Page 3 of 4 Page ID #:36



 1                                  CERTIFICATE OF SERVICE
 2
            I, the undersigned, certify and declare that I am over the age of 18 years, and
 3
 4 not a party to the above-entitled cause. On January 14, 2014, I served a true copy of
 5 foregoing document(s): NOTICE OF SETTLEMENT.
 6
 7 BY ELECTRONIC FILING: I hereby                Attorney for Defendants Sacor
 8 certify that on January 14, 2014, a copy      Financial Inc.
   of the foregoing document was filed
 9 electronically. Notice of this filing will be
10 sent by operation of the Court's electronic
   filing system to all parties indicated on
11 the electronic filing receipt. All other
12 parties will be served by regular U.S.
   Mail. Parties may access this filing
13 through the Court's electronic filing
14 system.
15
16
            I am readily familiar with the firm's practice of collection and processing
17
18 correspondence for mailing. Under that practice it would be deposited with the U.S.
19 Postal Service on that same day with postage thereon fully prepaid in the ordinary
20
   course of business. I am aware that on motion of the party served, service is presumed
21
22 invalid if postal cancellation date or postage meter date is more than one day after the
23 date of deposit for mailing in affidavit.
24
         I hereby certify that I am employed in the office of a member of the Bar of this
25
26 Court at whose direction the service was made.
27          Executed on January 14, 2014.
28
                                                 3
     5:13-cv-02199-VAP-DTB                                              NOTICE OF SETTLEMENT
Case 5:13-cv-02199-VAP-DTB Document 8 Filed 01/14/14 Page 4 of 4 Page ID #:37



 1
 2                                         By: /s/ Tammy Hussin
                                           Tammy Hussin, Esq.
 3                                         Lemberg & Associates, LLC
 4                                         Attorney for Plaintiff, Veronica Becker

 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                           4
     5:13-cv-02199-VAP-DTB                                       NOTICE OF SETTLEMENT
